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The Honorable Leo T. Sorokin August 6, 2018
United States District Court

John Joseph Moakley Courthouse

1 Courthouse Way

Boston, MA 02210

Re: Ross McLellan
Your Honor,

| am grateful for the opportunity to speak on behalf of my husband, Ross McLellan, and our
family. Ross and | have been partners for nearly 22 years. We met in Boston in the 1990s,
shortly after | finished my graduate degree from Boston University and Ross was working at his
first job and putting himself through a graduate program at Boston College in the evenings. |
had no intention of remaining in Boston at the time, and had already secured a job in
educational publishing in New York City, where | planned to live and work to be near my family
(I come from a large, close-knit Italian American family in New Jersey, where both of my
parents spent decades as public school teachers and my grandfather was a high school
principal). But | was drawn to Ross's intelligence, his kindness, his brilliant sense of humor, his
generosity; and so we maintained a long-distance relationship. After a few years living in New
York, during which time Ross took the Peter Pan bus from South Station to visit me most
weekends, | arranged a work transfer and moved back to Boston to be with Ross. It was a
difficult and life-changing decision for me to move away from my family, but one that | would
make again today, without hesitation. Ross and | married a year later, in 2000.

In 2001 we left the city and moved to the South Shore, where we knew we wanted to start a
family. We chose Hingham because of the excellent public schools. Our first son was born in
2005, and by late 2010, we had three more children, including a set of twins. During that time,
we quickly realized it was unsustainable for us both to work full-time and raise our children the
way we wanted to, so | left my job at Pearson Education to freelance (eventually re-joining the
staff on a part-time basis). Ross had a demanding job at State Street that required frequent
travel. He enjoyed his job but hated to be away from his family, and would often take overnight
flights home so he could be with us.

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Ross is the hardest-working person | know. His parents did not go to college, nor did they have
the financial resources to fund his education. Asa teenager he worked multiple jobs to help
support his family, and he continued that financial support until his parents passed away. He
put himself through college and graduate school on scholarship and loans. Both he and | have
very strong work ethics and place a very high premium on education. Ross has been a faithful
donor to his alma mater, Stonehill College, and has mentored and helped several young alumni
secure positions in the financial industry. We also feel very strongly about the need to give back
to the community. While at State Street, Ross led volunteer teams in service of the Cradles to
Crayons organization, donated a percentage of his salary to the United Way, and was a sponsor
for the Jimmy Fund. More recently, he and | are on the planning committee for an annual
summer fundraiser in our town to benefit Children's Hospital. Ross spends countless hours
helping to organize this charity Wiffle ball tournament—from ordering t-shirts, to recruiting
teams, to working the event itself.

When Ross left State Street in 2011, he was distressed about the loss of a job to which he was
so dedicated. But Ross is incredibly intelligent and self-motivated, and it surprised none of us
when he persevered. He began reaching out to previous clients and set about building his own
financial consulting firm. Ross was delighted when his small business, Harbor Analytics, started
gaining traction. This career move allowed him the flexibility to spend more time with our
children and afforded him the opportunity to pursue one of his passions: volunteer coaching for
our town's various youth sports organizations. With Ross working fewer hours, it became
feasible for me, and economically necessary, to resume my own Career in academic publishing.
lam currently a senior editor at an editorial firm based out of Columbus, OH, where | must
travel for meetings several times a year. Since my return to full-time employment in 2016, Ross
has assumed many of the primary daily parenting responsibilities for our large family: he packs
lunches, drives the children to school and religious education classes, takes them to medical
appointments, attends parent-teacher conferences, and coaches their youth hockey teams.
Further, our oldest son has special needs, diagnosed at age 7 by a neurologist at Boston
Children's Hospital with severe attentional deficits that impact his academic and social
development. Ross is devoted to our son's care and medication management. | cannot fathom
bearing the burden of being both the primary wage earner and also sole care provider for our
four children.

The last few years have been stressful and challenging for our family. Ross lost both of his
parents within a few months of each other in 2016. My own father is battling metastatic cancer.

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Our children have experienced much loss in a short period of time. Ross and | have felt the
strain of caring for both young children and aging and ailing parents. That strain is particularly
acute for me because my own family is out-of-state. Additionally, Ross's professional and legal
struggles have been made very public, and his small business (and income source) has
disintegrated. My older two sons, in particular, are painfully aware of the situation. My 13-year-
old son has had to withstand insensitive comments about his father's case in the middle school
cafeteria. Yet throughout it all, Ross has been a model of resiliency and grace for our children,
always answering their questions honestly, teaching them to be kind to others, and
encouraging them to stand up for what they believe in. During his trial, Ross was adamant that
this was his burden to shoulder alone, and actively discouraged his many family members and
friends from coming to court to support him. He was concerned that | would jeopardize my own
employment and our livelihood by taking too much time away from work to attend the trial,
and was only comfortable with me attending on a handful of days. The most wrenching day of
his June trial was the day he had to miss his fifth grader's graduation ceremony. And yet even in
these bleakest and most uncertain of times, Ross exhibits a profound sense of gratitude for his
family and his blessings. | could not be more proud of the example he has set for our children.

Quite simply, Ross is adored by our four children: pee (13), a 1), a), and

(7). They know no other world than the one in which he packs their backpacks, plays catch
in the yard, drives them to practices, applauds at dance recitals, cheers them on at their games,
reads with them, and tucks them into bed at night.

In our more than two decades together, I’ve never doubted Ross's integrity, the depth of his
character, or his moral compass. He is a model neighbor, friend, and brother. He is the first
person to lend a hand to someone in need — whether that be an elderly neighbor who needs
her driveway shoveled, a friend who is down on his luck, a cause he feels passionately about
that he can support financially or by devoting his time, a youth sports team that needs a coach.
He is a beloved member of our community. He is an extraordinary husband and father.

Thank you again for your time and attention.

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